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 5   Attorney for Defendant
     BRIAN J. PICKARD
 6

 7

 8
                               UNITED STATES DISTRICT COURT
 9
                              EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                  2:11-CR-00449-KJM
12
                 Plaintiff,                     EX PARTE REQUEST AND
13                                              ORDER
                                                TO EXONERATE BOND AND RETURN
14         v.                                   COLLATERAL
15                                              Judge: Hon. Kimberly J. Mueller
16   BRIAN JUSTIN PICKARD,
17               Defendant.
18   ______________________________/
19
           COMES NOW defendant, BRIAN JUSTINE PICKARD, by and through counsel and
20
     hereby requests that bail be exonerated in this matter and that real
21

22   property posted to secure bail be reconveyed.

23         In support of this request, counsel declares:
24
           I am an attorney licensed to practice law in the state of California,
25
     and before this Court. I was the attorney of record for Brian J. Pickard in
26

27
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     Case 2:11-cr-00449-KJM Document 600 Filed 10/26/16 Page 2 of 4




     the above entitled case.
 1

 2         On October 19, 2011, Mr. Pickard was granted pre-trial release with

 3   the condition that a bond in the amount of $340,000 be secured by real
 4
     property identified as Tax Parcel No. 022-260-831 and 022-260-861, which are
 5
     both located in the City of Red Bluff, County of Tehama; California and
 6

 7   jointly owned by his parents Donald and Claudia Pickard.   In addition, the

 8
     bond was ordered secured by property located at 18890 Cobblestone Drive,
 9
     Cottonwood, California also in the county of Tehama and owned by Donald
10

11   Pickard. A deed of trust favoring this District Court was filed on or about

12   April 6, 2012, in the County of Tehama for all three parcels, and an
13
     appearance bond was thereafter filed with this Court on April 12, 2012.
14
           Mr. Pickard was sentenced on June 8, 2016, and surrendered to his
15

16   designated facility (i.e., Lompoc) as directed on or about September 8,

17   2016. He is presently serving his 87 month sentence, and therefore, bail
18
     should be exonerated.
19
           It is respectfully requested that bail be exonerated and the Clerk of
20

21   the Court be directed to reconvey the real property posted as follows:

22
           1. Trustors: Donald Pickard and Claudia Pickard
23
           Property: Tax Parcel No. 022-260-831, Red Bluff CA
24         Deed of Trust filed in favor of District Court on April 6, 2012
                 DOC-2012003722 (Attached as Exhibit A.)
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     Case 2:11-cr-00449-KJM Document 600 Filed 10/26/16 Page 3 of 4




 1         2. Trustors: Donald Pickard and Claudia Pickard

 2         Property: Tax Parcel No. 022-260-861, Red Bluff CA
           Deed of Trust filed in favor of District Court on April 6, 2012
 3               DOC-2012003723 (Attached as Exhibit B.)
 4
           3. Trustors: Donald Pickard
 5
           Property: 18890 Cobblestone Drive, Cottonwood, CA 96022
 6         Deed of Trust filed in favor of District Court on April 6, 2012
                 DOC-2012003724 (Attached as Exhibit C.)
 7
           I declare under penalty of perjury that the foregoing is true and
 8
                                                             th
 9   correct, and that this declaration is executed on the 24     day of October,

10   2016, in Sausalito, California.
11
                                                     /s/Zenia K. Gilg
12                                                   ZENIA K. GILG

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     Case 2:11-cr-00449-KJM Document 600 Filed 10/26/16 Page 4 of 4




                                           ORDER
 1

 2            Upon the request of defendant, and good cause appearing,

 3            IT IS HEREBY ORDERED that bail is exonerated in the above entitled

 4   matter and the Clerk of the Court is directed to reconvey the following

 5   property:

 6            1. Property: Tax Parcel No. 022-260-831, Red Bluff CA
                    Deed of Trust filed in favor of District Court on April 6, 2012
 7                  DOC-2012003722
 8                  Trustors: Donald Pickard and Claudia Pickard

 9
              2. Property: Tax Parcel No. 022-260-861, Red Bluff CA
10                  Deed of Trust filed in favor of District Court on April 6, 2012
                    DOC-2012003723 (Attached as Exhibit B.)
11
                    Trustors: Donald Pickard and Claudia Pickard
12

13            3. Property: 18890 Cobblestone Drive, Cottonwood, CA 96022
                    Deed of Trust filed in favor of District Court on April 6, 2012
14                  DOC-2012003724 (Attached as Exhibit C.)
15                  Trustors: Donald Pickard

16            And return collateral to the property owners/Trustors as indicated

17   above.

18   Dated:    October 26, 2016
19

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